
MAUS, Judge,
concurring.
I concur. Further, I find the appellant did elect to proceed without counsel. By each of the four summons the appellant was admonished to “begin now” to obtain the services of an attorney. He was advised if he could not afford to pay an attorney, the court would appoint one for him. At the hearing the court inquired if appearing without counsel was by appellant’s choice. The appellant replied, “Well, not exactly. But it is.” (Emphasis added). In view of the admonition and advice of the summons, I find that answer to be a clear “Yes.” His statement concerning his application to legal aid was offered in explanation of that choice. It demonstrates the appellant was well aware of how to request the services of an attorney, but chose not to do so.
